                     Distict1:15-cr-00398-SCJ-JFK
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                                                                                            Page 1 of 2            17   054494429...




                           UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLAI\TA DIVISION
                                            I : 1 5-cr-00398-SCJ-JFK
                                                  USA v. Kwushue
                                            Honorable Steve C Jones


                           Minute Sheet for proceedings held In Open Court on08ll9l20l6.




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             TIME IN COURT: 3:00
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                                                            DEPUTY CLERK: Pamela Wright
             OFFICE LOCATION: Atlanta

        DEFENDANT(S):          [l]Samuel Kwushue Present at proceedings
        AIORNEY(S)            Nicole Kaplan representing Samuel Kwushue
        PRESENT:              Samir Kaushal representing USA
        PROCEEDING
                              Sentencing Hearing(Sentencing Hearing-Contested);
        CATEGOR*
        MINUTE TEXT           Sentencing hearing held as to Counts 1-8. Oral argument heard on
                              Defendant's objections to PSR. Government's witness Salina Walker
                              sworn and testified. Government's exhibits 3, 10, 5, 6, 1a-ls, 2a-2f,4,7
                              and 8 admitted (exhibit list attached). Sentence imposed: 51 months
                              imprisonment as to each count, concurrent; 3 years supervised release
                              as to each count, concurrent; $800.00 special assessment;
                              $5,292,958.57 restitution to USDA. Defendant was advised of his
                              appeal rights and remanded to custody.
        HEARING STAIUS: Hearing Concluded
        EXHIBIT STAIUS: Exhibits retained by the Court to be forwarded to the Clerks Office.




I of2                                                                                                       8/19/2016 3:43 PM
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                                                                  United States v. Samuel Kwushue
                                                               Crinrinal Action No. I : l5-CR-00398



                            GOVERNMENT EXHIBIT LIST

Exhibit   Descrintion                                   Offered?    Admitted?
          KD Metro Nov. 4, 2015 Search Warrant
1A-1S
          Photographs
          KD Metro Nov. 4, 2015 Search Warrant
2A-zF
          Photographs
  3       KD Metro Diagram
  4       Loss Chart
  f,      T.C. Statement
  6        S.H. Statement
  7       March 1,2010 Agreement to Sell Business
  8        February 77,2070 FNS Application
          Department of Homeland Security   -   USCIS
  9
          Database Lookup
  l0      KD Metro Top Redeemers List
